
640 S.E.2d 392 (2006)
STATE of North Carolina
v.
Jaamall Denaris OGLESBY.
No. 683P05.
Supreme Court of North Carolina.
December 19, 2006.
Jonathan P. Babb, Special Deputy Attorney General, Thomas J. Keith, District Attorney, for State of NC.
M. Gordon Widenhouse, Jr., Chapel Hill, for Jaamall D. Oglesby.
Prior report: 174 N.C.App. 658, 622 S.E.2d 152.

ORDER
Upon consideration of the petition filed by Attorney General on the 12th day of December 2005 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 19th day of December 2006."
Upon consideration of the petition filed on the 12th day of December 2005 by Attorney General in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 19th day of December 2006."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
